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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

                                                             )
UNITED STATES OF AMERICA                                     )
                                                             )
               v.                                            )      No. 18 Cr. 35 (Tharp, J.)
                                                             )
JAMES VORLEY and CEDRIC CHANU,                               )
                                                             )
                               Defendants.                   )
                                                             )

     DEFENDANTS’ MOTION TO PRECLUDE THE GOVERNMENT’S RULE 1006
              SUMMARY CHARTS IN THEIR CURRENT FORM

       The Government has disclosed that it intends to introduce into evidence pursuant to Rule

1006 of the Federal Rules of Evidence a series of exhibits that do not simply display voluminous

evidence, but present argument on it. They do so by (i) including written commentary that is not

found in any underlying exhibit, (ii) selectively presenting the underlying data, and (iii) combining

the data from various different pieces of evidence in one place.           Because the charts are

demonstratives appropriate for argument, not introduction into evidence pursuant to Rule 1006,

the government should not be permitted to introduce the exhibits in their current form.1

                                PRELIMINARY STATEMENT

       Proposed government exhibit 1 (GX1), attached as Exhibit A, consists of numerous charts

concerning the 61 Episodes through which the government seeks to prove that the defendants were

spoofing. The charts do three things:

       1.      They extract the defendants’ and certain alleged co-conspirators’ trade data,
               presenting it in visual form by depicting an iceberg order on one side of the market,



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  The defense conferred with the government regarding this issue and the parties were unable to
reach an agreement.
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               one or more visible orders on the other side of the market, the movement of prices
               during the episodes, and the execution and cancellation of the orders.

       2.      On top of the visuals, the charts overlay text boxes containing commentary about
               the data that is not found in any other exhibit. As discussed below, the text is not
               uniform from chart to chart, with the variation driven by how the data fits into the
               government’s theory of the case. It also reflects the government and its witnesses’
               opinions of the trading, such as that iceberg orders are genuine and visible orders
               are not.

       3.      Finally, the charts superimpose excerpts of chats contained in other exhibits on top
               of the trade data, reflecting the government’s argument that the chats serve as a
               guide to what is taking place in the trading.

       Proposed government exhibits 32 & 33, attached hereto as Exhibits B & C, make a similar

mistake, setting forth in visual form the conclusions of the government’s expert under the guise of

a summary chart.

       The government is perfectly entitled to argue its view of the evidence to the jury. It may

not, however, do so through Rule 1006 charts admitted into evidence.

                                      APPLICABLE LAW

       It is black letter law in the Seventh Circuit that a summary exhibit cannot be argumentative.

United States v. White, 737 F.3d 1121, 1135 (7th Cir. 2013) (“Because a Rule 1006 exhibit is

supposed to substitute for the voluminous documents themselves . . . the exhibit must accurately

summarize those documents. It must not misrepresent their contents or make arguments about the

inferences the jury should draw from them.”); United States v. Spalding, 894 F.3d 173, 185 (5th

Cir. 2018) (“[B]ecause summaries are elevated under Rule 1006 to the position of evidence . . .

care must be taken to omit argumentative matter in their preparation lest the jury believe that such

matter is itself evidence of the assertion it makes.”); Peat, Inc. v. Vanguard Research, Inc., 378

F.3d 1154, 1159-1160 (11th Cir. 2004) (finding summary charts were improperly admitted that

included “conclusory allegations concerning [the defendant’s] alleged . . . intent.”).



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                                           ARGUMENT

       The text boxes commenting on the data detailed in the charts found in GX1 inappropriately

argue the government’s case in a number of ways.

       First, they reflect the government’s view of the nature of the orders. To take the most

glaring example, iceberg orders are deemed part of a single, unitary, “genuine” order but visible

orders are not. In charts that detail numerous iceberg orders placed and cancelled at different price

levels, text boxes explain that each iceberg is part of the same order by describing the number of

orders in the original order “remaining” to be filled or that the “final” orders from the original

iceberg order have been executed at a new price level. Exhibit A, e.g., #20 (“Sells remaining 16

contracts [of an iceberg]”, #33g (“sells final 19 contracts [of iceberg]”) (hereinafter “#X”).

       Conversely, where visible orders are cancelled and replaced at different price levels in

exactly the same manner, they are deemed different orders. E.g., #20a (showing a 100 lot visible

order that is initially placed one price level (or tick) below the market, before being cancelled and

replaced three times at new price levels that are also one tick below the moving market). Unlike

the text commenting on the icebergs, the commentary on the visible orders does not explain that

they could be a single order the trader is repeatedly resetting at different prices in an attempt to

buy one price level below the market. Instead, the text definitively states (in red) that there are

four separate, disconnected orders. This discrepancy—treating one set of orders as a unitary part

of a legitimate strategy to execute and the other identical pattern as orders that could not be part of

such a strategy—is argument. The government can argue that theirs is the correct view. But it is

not the only view,2 and they cannot argue for it in Rule 1006 summary charts.




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 “Pegged orders”—a strategy involving placing and canceling orders just above or below the
market in hopes of executing on market movements and profiting by a return to the prior price
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       Chart #20a demonstrates another inappropriate argument present in the majority of the

underlying GX1 charts. The government’s expert will argue that if visible orders make up a higher

percentage of the resting visible order book, they are more likely to place pressure on the market

(supposedly fulfilling the defendants desire to manipulate it). The government is entitled to that

testimony. What it may not do is include on each chart red text boxes that build off that testimony

by detailing the percentage of the visible order book comprised by the visible orders for the trading

at issue. This argument is all the more inappropriate given that the commentary relies on and

exacerbates the misperception caused by the government’s assumption that the visible orders are

not part of a legitimate strategy. Because the charts treat each visible order as its own, separate,

“fake” order designed to pressure the order book rather than as a single repeatedly cancelled and

replaced order following a legitimate trading strategy (the treatment the charts afford the iceberg

orders deemed “real”), the four 100-lot visible orders cancelled and replaced one level below the

market in Chart #20a, receive the following narration:

               4 orders to buy 400 total contracts ($41,527,000) Orders are up to 42.4% of
               the visible order book Active for 0.523 seconds on average (shortest 0.448
               seconds) Cancels all 400 buy contracts

By shoehorning the underlying data into a one-sided argument about the intent of the trader—there

are now 400 total visible contracts not 100 contracts being cancelled and replaced four times—the

government then moves to step two, noting the pressure these 400 orders place on the price. Again,

the government is free to make these arguments; it just can’t admit them as exhibits.

       The government has also egregiously, on eight occasions, superimposed the text of various

chats on top of the charts. E.g., #8a. The excerpted chats all come from separately marked exhibits



level—is an extraordinarily common practice.                See Pegged Order, moneyland.ch,
https://www.moneyland.ch/en/pegged-order-definition.

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that will be in evidence, and that are in no way voluminous. E.g., GX 44 (Cedric Chanu electronic

communication).     Yet under the guise of creating a summary chart under Rule 1006, the

government seeks to include the chats in its charts in order to argue to the jury what the trade data

shows—seemingly providing the trader’s own commentary on the trading as it takes place. Not

only is this obvious argument as to the government’s view of the “story” behind the data, but it is

also misleading, as the excerpted text often falls well outside the time period covered in the data.

E.g., #8a (only one word of the 60+ word chat falls within the window of time covered by the

chart); #11a (including chats that took place 45 minutes after the chart’s end time); #28a (including

chats that are exclusively outside the time period covered). Again, the government can make these

arguments to the jury, and it can even save these very same charts for closing. What it cannot do

is insert this argument into evidence under Rule 1006.

       The GX1 charts also vary significantly from one to the other, including information where

the government deems it compelling, excluding it where it does not. This takes many forms:

   •       In some GX1 charts, text boxes provide commentary about how quickly an iceberg
           received fills following the placement of a visible order and/or how quickly a visible
           order was cancelled following the completion of an iceberg order. E.g., #33s. This
           text appears where the government will argue the times are evidence of guilt. But this
           same information does not appear at all on many of the charts where the evidence does
           not fit the government’s theory, e.g., #37, and in others, only one half of the argument
           appears. E.g., #44.

   •       Occasionally, GX1 chart commentary explains the time elapsed from the placement of
           an iceberg order to the placement of a visible sell order. This happens where it appears
           to be in keeping with an argument that the visible order was placed to create fills for
           the frustrated trader. E.g., # 59 (“Buy order placed 202.614 seconds after sell order”).
           In most instances, however, there is no such commentary. E.g., # 9.

   •       Occasionally, GX1 charts provide commentary that visible order fills are later resold,
           presumably in order to argue that the resale shows that the traders—market makers
           whose jobs are buying and selling constantly —did not really “want” the visible order
           filled. E.g., # 8. And in some instances, the government even creates separate charts
           to show the fate of such visible order fills. E.g., # 38(a). On other occasions that
           presumably do not fit the government’s argument, the fate of the visible order fills is
           nowhere to be found. E.g., #2.

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    •       The duration of the GX1 charts also vary wildly, sometimes extending well before
            and/or after the alleged trading sequence to show market movement supporting the
            conclusion that the visible order moved the market, e.g. # 1a (showing the market
            dropping following the cancellation of the visible buy order). But the vast majority of
            the time—presumably when the market’s future movements did not square with the
            government’s theory—the charts provide no additional information about what
            happened to the market following the end of the trading sequence. E.g., # 10.

    •       More generally, even in the few places where the text is uniform across the charts—for
            example, the number of iceberg orders filled while an opposite side visible order is
            open—the charts selectively highlight the data that fits the government’s theory of the
            case, while not shining the authoritative text commentary elsewhere. For example, the
            charts never point out the trader’s position at the time of the trading—information also
            found in the data—and a fact that could be included in text to provide explanations for
            and context around why certain orders are placed or cancelled at certain times.

        The government can present data in chart form pursuant to Rule 1006. What it cannot do

is superimpose argumentative commentary that selectively highlights facts the government

believes are favorable.

        Similar to GX1, the charts found at proposed government exhibits 32 and 33 reflect the

work performed and conclusions of its expert witness. These charts, attached hereto as Exhibits

B & C, are not objective summaries of underlying data, but simply track the expert’s conclusions

about what various statistics suggest to him about the defendants’ intent. Each chart takes a point

from his testimony—that the duration of visible orders is longer than icebergs; that the average

iceberg order size is smaller than average visible order size; that market depth expands when a

visible order is added to it; that the notional values of visible orders are larger than iceberg orders;

etc.—and sets it out in visual form. The charts each make a point, and in each instance, it is the

expert’s point. If the government wants to present the underlying evidence in summary charts that

do not argue, they are of course entitled to. What it cannot do is introduce argument into evidence.




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                                         CONCLUSION

       Summary charts are permitted to present voluminous materials in a manageable format;

not to create closing argument charts that can be entered into evidence. For the reasons above,

these charts fit into the latter category, and should not be permitted into evidence.

Dated: September 4, 2020                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I, Roger A. Burlingame, hereby certify that on September 4, 2020 the foregoing was filed

via the Court’s CM/ECF system, which will automatically serve and send notification of such

filing to all registered attorneys of record.

                                                           /s/ Roger A. Burlingame
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